                                            Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 1 of 6




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT
                                   5                            NORTHERN DISTRICT OF CALIFORNIA
                                   6

                                   7    UNITED STATES OF AMERICA,                       Case No. CR 11-0097 CRB

                                   8
                                                       Plaintiff,
                                                                                        ORDER DISMISSING RULE 36
                                   9
                                                 v.                                     MOTION, CONSTRUED AS
                                                                                        SECOND AND SUCCESSIVE
                                  10    CUONG MACH BINH TIEU,                           HABEAS PEITION
                                  11
                                                       Defendant.

                                  12
Northern District of California
 United States District Court




                                  13            Petitioner Cuong Mach Binh Tieu moves this Court to correct what he asserts is a
                                  14   clerical error in his judgment order and presentence investigation report (“PSR”). In the
                                  15   same motion, Petitioner requests that this Court resentence him. For the reasons that
                                  16   follow, the Court dismisses Petitioner’s motion.
                                  17   I.       BACKGROUND
                                  18            Petitioner was indicted on ten counts of racketeering and drug trafficking. See
                                  19   Indictment (dkt. 46). The two counts at issue in this petition arise under 21 U.S.C. § 846,
                                  20   Conspiracy to Violate the Controlled Substances Act. See Motion (dkt. 806); see also
                                  21   Judgment (dkt. 554).
                                  22            In 2012, Petitioner entered an open guilty plea. See Hearing Minutes (dkt. 379-1).
                                  23   He later received a 220 month sentence. See Sentencing Minutes (dkt. 557). Petitioner
                                  24   timely appealed, and, in 2014, the Ninth Circuit affirmed Petitioner’s conviction and
                                  25   sentence. See United States v. Cuong Mach Bing Tieu, 553 F. App’x 694, 695 (9th Cir.
                                  26   2014).
                                  27            The following year, Petitioner moved to vacate his sentence pursuant to
                                  28   28 U.S.C. § 2255. See 2255 Mot. (dkt. 767). This Court denied the petition. See 2255
                                           Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 2 of 6




                                   1   Order (dkt. 786). The Court also declined Petitioner’s request for a sentence reduction
                                   2   pursuant to Amendment 782. See Order Denying Reduction (dkt. 804).
                                   3           In December 2017, Petitioner (proceeding pro se) filed the motion at issue pursuant
                                   4   to Federal Rule of Criminal Procedure 36. See Motion. Petitioner asserts that Counts 5
                                   5   and 7 erroneously sentence him for the same crime. Id. He requests that the Court correct
                                   6   the judgment order and PSR, and then resentence him. Id.
                                   7           The government responds that Petitioner’s motion wrongly invokes Rule 36 for a
                                   8   purpose (resentencing and a new PSR) other than correcting a clerical error. See Opp’n
                                   9   (dkt. 808). As neither of Petitioner’s purposes may be accomplished by a Rule 36 motion,
                                  10   the government asks the Court to construe the motion as a second and successive habeas
                                  11   petition. Id.
                                  12           In his reply, Petitioner asserts that the government did not timely respond, and that
Northern District of California
 United States District Court




                                  13   the Court should therefore grant this motion in his favor. See Reply (dkt. 809).1 He
                                  14   maintains that his request is a Rule 36 motion. Id. Two days after Petitioner filed his
                                  15   reply, the government mailed him a copy of the opposition.2 See Cert. of Service (dkt.
                                  16   810).
                                  17           Without seeking leave, Petitioner subsequently filed a surreply. See Surreply
                                  18   (dkt. 811). In it, he maintains that the Court has jurisdiction under Rule 36 to correct “the
                                  19   typograph[ical] [error] [] [referencing] different drugs and statutes.” Id. at 3. However,
                                  20   Petitioner argues in his surreply that the clerical errors extend beyond Counts 5 and 7 and
                                  21   impact “his whole case.” Id. at 2–3. The gravamen of Petitioner’s new claim is that he has
                                  22   been incarcerated for MDMA “when he is suppose[d] to be in custody for
                                  23
                                       1
                                  24     This is incorrect. On Monday, December 11, 2017, the Court issued an order requiring “the
                                       government to respond to Tieu’s motion within 14 days of this order.” See Reply Order (dkt.
                                  25   807). The government’s response was due by Monday, December 25, 2017. However, December
                                       25, 2017, Christmas Day, was a legal holiday. See Fed. R. Crim. P. 45(a)(6)(a). Therefore, the
                                  26   government’s response was not due until the next day. See Fed. R. Crim. P. 45(a)(1). Thus, the
                                  27   government’s December 26, 2017 reply was timely.
                                       2
                                         The government notified Petitioner of the December 26, 2017 filing on January 18, 2018—ten
                                  28   days after the Court’s deadline for Petitioner’s reply. See Id.; see also Reply Order (dkt. 807).

                                                                                       2
                                             Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 3 of 6




                                   1   methamphetamine[,] ephedrine[,] and cocain[e].”3 Id. at 3. Tangentially, Petitioner
                                   2   requests “immediate counsel . . . to remedy this major error” in his PSR, judgment order,
                                   3   and Bureau of Prison’s inmate central file.4 Id. Lastly, Petitioner argues that the
                                   4   government’s delayed filing caused him “serious prejudice.”5 Id. at 3. It is well-
                                   5   established in the Ninth Circuit that courts are not required to consider arguments raised
                                   6   for the first time in a reply brief. See Bazuaye v. I.N.S., 79 F.3d 118, 120 (9th Cir. 1996)
                                   7   (“Issues raised for the first time in the reply brief are waived.”); State of Nev. v. Watkins,
                                   8   914 F.2d 1545, 1560 (9th Cir. 1990) (“’appellants cannot raise a new issue for the first
                                   9   time in their reply briefs’”). Accordingly, the following analysis is limited to arguments
                                  10   raised in Petitioner’s opening motion.
                                  11   II.      LEGAL STANDARD
                                  12            District courts may invoke Rule 36 to correct clerical errors “at any time.”
Northern District of California
 United States District Court




                                  13   Fed. R. Crim. P. 36. However, Rule 36 “may not be used to correct judicial errors in
                                  14   sentencing.” United States v. Penna, 319 F.3d 509, 513 (9th Cir. 2003). Specifically, Rule
                                  15   36 is not intended “to allow reassessment of the merits of an earlier decision after the time
                                  16   for reconsideration or appeal has elapsed.” United States v. Jones, 608 F.2d 386, 389 (9th
                                  17   Cir. 1979).
                                  18            Petitioners may bring motions to vacate or correct sentences pursuant to
                                  19   28 U.S.C. § 2255. District courts, however, may not hear second or successive petitions
                                  20

                                  21   3
                                         The new claim is flawed. Petitioner includes in his Surreply excerpts from the PSR and a
                                  22   document entitled Sentence Monitoring Computation Data. See id. at 5, 8–10. However, the
                                       references to MDMA within his PSR pertain to racketeering acts, to which Petitioner pled guilty
                                  23   under Count 1, Conspiracy to Conduct the Affairs of a Racketeer-Influenced Corrupt
                                       Organization. See Judgment. The documents thus reflect that Petitioner is serving a sentence for
                                  24   MDMA-related activity under Count 1, and for methamphetamine and ephedrine-related activity
                                       under Counts 5 and 7. Id. Additionally, the Sentence Monitoring Computation Data document is
                                  25   created and maintained by the Bureau of Prisons—not the Court. See Surreply at 2-3. As the
                                       Court did not create the document, the Court did not make any clerical errors contained therein.
                                       4
                                  26     There is no constitutional right to counsel in a civil case unless an indigent litigant may lose his
                                       physical liberty if he loses the litigation. See Lassiter v. Dep’t of Social Services, 452 U.S. 18, 25
                                  27   (1981).
                                       5
                                         The Court took this delay into account in accepting Petitioner’s untimely reply and his surreply,
                                  28   filed without leave. Because the Court is considering Petitioner’s filings, Petitioner has not been
                                       prejudiced.
                                                                                           3
                                            Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 4 of 6




                                   1   for a writ of habeas corpus without prior certification from the appropriate court of
                                   2   appeals. 28 U.S.C. § 2244(b)(1), (b)(3)(A).
                                   3   III.      DISCUSSION
                                   4             A.     Petitioner’s Rule 36 Motion is a Second and Successive Habeas Petition
                                   5             While Petitioner’s motion was ostensibly brought to correct clerical mistakes, in
                                   6   substance, Petitioner seeks resentencing and a revised judgment and PSR. See Motion.
                                   7   The Court determines the appropriateness of a motion based on its practical function rather
                                   8   than its caption. See Jones, 608 F.2d at 389–90 (Rule 36 motion to vacate a suppression
                                   9   order considered a second motion for reconsideration because the “practical purpose and
                                  10   effect of the motion was to ask the district court to reconsider its ruling.”).
                                  11             Rule 36 is a narrow provision limited to the correction of clerical errors. Id. at 389.
                                  12   Accordingly, Rule 36 does not give district courts jurisdiction to consider motions that
Northern District of California
 United States District Court




                                  13   challenge or amend postsentence reports for reasons other than clerical error. See United
                                  14   States v. Cripps, 10-CR-00461 (LJO), 2017 WL 1115972, at *1 (E.D. Cal. Mar. 27, 2017).
                                  15   In addition, making a substantive change to the period of incarceration that a defendant is
                                  16   required to serve does not amount to the correction of a clerical error. United States v.
                                  17   Kaye, 739 F.2d 488, 491 (9th Cir. 1984) (Rule 36 “was not used properly to add a period
                                  18   of incarceration that the record does not indicate was previously authorized.”); see also
                                  19   Penna, 319 F.3d 509 at 513 (“Rule 36 is a vehicle for correcting clerical mistakes but it
                                  20   may not be used to correct judicial errors in sentencing.”). Indeed, “for anything other
                                  21   than clerical error,” challenges to the PSR must be based on statutes, such as a § 2255
                                  22   motion. See Cripps, 2017 WL 1115972, at *1.
                                  23             Here, Petitioner seeks resentencing and a revised judgment and PSR—not because
                                  24   the relevant documents fail to accurately reflect what the Court ordered, but because he
                                  25   alleges that two of the counts with which he was charged, and to which he pled guilty and
                                  26   was sentenced, are duplicative.6 See Motion at 1–2. Rule 36 does not apply. In substance,
                                  27
                                  28   6
                                           In fact, Petitioner refers to the two counts as “the same” and “[identical].” See Motion at 1–2.
                                                                                              4
                                          Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 5 of 6




                                   1   Petitioner has filed a § 2255 motion. See Tripati v. Henman, 843 F.2d 1160, 1162 (9th
                                   2   Cir. 1988) (petitioner serving federal sentence who wishes to attack the validity of his
                                   3   conviction or sentence must do so by way of a motion to vacate, set aside or correct the
                                   4   sentence pursuant to § 2255.). However, this Court denied Petitioner’s prior § 2255
                                   5   motion to vacate his sentence. See 2255 Order. Accordingly, Petitioner’s Rule 36 motion
                                   6   is a second and successive § 2255 habeas petition.
                                   7          B.     This Court Does Not Have Jurisdiction over Petitioner’s § 2255 Motion
                                   8          Absent an order from the Ninth Circuit, this Court cannot consider a second and
                                   9   successive habeas petition. See 18 U.S.C. § 2244(b)(3). In fact, this Court must dismiss
                                  10   any second or successive habeas claim where, as here, the conditions of § 2244 are not met.
                                  11   See United States v. Allen, 157 F.3d 661, 664 (9th Cir. 1998). Petitioner does not assert that
                                  12   he has sought or obtained certification to file a second or successive habeas petition.
Northern District of California
 United States District Court




                                  13   Accordingly, his motion fails to satisfy § 2255(h) and is DISMISSED for lack of
                                  14   jurisdiction. See 18 U.S.C. § 2244(b)(3); see also 28 U.S.C. § 2255(h).
                                  15   IV.    CONCLUSION
                                  16          The Court deems Petitioner’s Rule 36 motion a second or successive § 2255 motion
                                  17   and DISMISSES it because it has not been certified by the Ninth Circuit. See 28 U.S.C.
                                  18   § 2255(h). Petitioner is advised to review the government’s Opposition to his motion,
                                  19   which explains why such a certification is unlikely (i.e., that it fails to meet the prima facie
                                  20   requirements for certification, see id., that the statute of limitations has run, see 28 U.S.C.
                                  21   § 2255(f)(1), and that it lacks merit because in fact Counts 5 and 7 charge Petitioner with
                                  22   different crimes, each with different factual and statutory objects). See Opp’n at 3–5. This
                                  23   Court does not reach the question of certification because certification is a question for the
                                  24   Ninth Circuit. If requested, a certificate of appealability under 28 U.S.C. § 2253(c) would
                                  25   also be DENIED because Petitioner has not demonstrated that “reasonable jurists would
                                  26   find the district court’s assessment of the constitutional claims debatable or wrong.” See
                                  27
                                  28
                                                                                      5
Case 3:11-cr-00097-CRB Document 812 Filed 03/01/18 Page 6 of 6
